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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0542V
                                          UNPUBLISHED


    CYNTHIA SHAW,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: September 1, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

       On May 1, 2020, Cynthia Shaw filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) as a result of an influenza (“flu”) vaccine administered to her on
September 14, 2018. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

      On July 23, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a left SIRVA. On September 1, 2021, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded a lump sum
payment of $113,705.67. Proffer at 2. In the Proffer, Respondent represented that


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $113,705.67 in the form of a check payable to Petitioner. This
consists of (1) $112,500.00 in actual pain and suffering; (2) $498.12 in past
unreimbursable expenses; and (3) $707.55 in past lost wages.

These amounts represent compensation for all damages that would be available under
Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

___________________________________
                                    )
CYNTHIA SHAW,                       )
                                    )
            Petitioner,             )
                                    )               No. 20-542V (ECF)
      v.                            )               Chief Special Master Corcoran
                                    )
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 1, 2020, Cynthia Shaw (petitioner) filed a petition for compensation under the

National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the Act”),

42 U.S.C. §§ 300aa-1 to -34. Petitioner alleged that she suffered a Shoulder Injury Related to

Vaccine Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered to

her on September 14, 2018. Petition at 1. On July 23, 2021, the Secretary of Health and Human

Services (“respondent”) filed a Rule 4(c) Report recommending that compensation be awarded,

and the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 39; ECF No. 40.

Items of Compensation

       Pain and Suffering

       Respondent proffers that petitioner should be awarded $112,500.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents her expenditure for past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $498.12, as provided under the Vaccine

Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

       Lost Wages

       Evidence supplied by petitioner documents that she incurred past lost wages related to

her vaccine-related injury. Respondent proffers that petitioner should be awarded past lost

wages in the amount of $707.55. See 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following: a lump sum payment of $113,705.67, representing

compensation for actual pain and suffering ($112,500.00), past unreimbursable expenses

($498.12), and lost wages ($707.55), in the form of a check payable to petitioner, Cynthia Shaw.

Petitioner agrees.

Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Cynthia Shaw:                               $ 113,705.67

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Acting Assistant Attorney General

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                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          HEATHER L. PEARLMAN
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          DARRYL R. WISHARD
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ Kimberly S. Davey
                                          KIMBERLY S. DAVEY
                                          Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
                                          Tel: (202) 307-1815
                                          Kimberly.Davey@usdoj.gov
DATED: August 31, 2021




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